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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
BOBBY WADE, CIVIL DOCKET NO. 1:19-CV-4388-P
Plaintiff
VERSUS JUDGE DRELL

FRANCISCO J. QUINTANA, EFT MAGISTRATE JUDGE PEREZ-MONTES
AL.,
Defendants

JUDGMENT
For the reasons stated in the Report and Recommendation of the Magistrate
Judge previously filed herein (ECF No. 49), and after a de novo review of the record,
including the Objection filed by Plaintiff (ECF No. 52), having determined that the
findings and recommendation are correct under the applicable law;
IT IS ORDERED that the Motion for Preliminary Injunction (ECF No. 48) is
hereby DENIED.

Lyte
THUS DONE AND SIGNED, at Alexandria, Louisiana, on this G day of

SES

DEE D. DRELL
UNITED STATES DISTRICT JUDGE

November, 2020.

 

 
